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                     IN THE UNITED STATES DISTRICT COURT
                               DISTRICT OF MINNESOTA



 CAIR FOUNDATION, INC., d/b/a                         Civil Action No.: 0:21-cv-01267
 COUNCIL ON AMERICAN-ISLAMIC
 RELATIONS, & CAIR,



                      Plaintiff,


 v.                                                  STIPULATION FOR DISMISSAL
                                                          WITH PREJUDICE

 LORI SAROYA,



                      Defendant.



       Pursuant to Federal Rule of Civil Procedure 41, Plaintiff CAIR Foundation, Inc.

(“CAIR”) and Defendant Lori Saroya (“Saroya”), by and through their undersigned

counsel, hereby stipulate and agree that the above-captioned action may be, and is hereby,

dismissed in its entirety, with prejudice, and without costs, disbursements or attorneys’ fees

to either party.

       The parties further stipulate and agree that upon the filing of this fully-executed

Stipulation, the Court may enter an Order and Judgment of Dismissal with Prejudice and

without further hearing or notice to either party.
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Dated: January 7, 2022            CHRISTENSEN LAW OFFICE PLLC

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